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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.   2:17-cr-00232-GEB
8                  Plaintiff,             REVOCATION OF MAGISTRATE JUDGE’S
                                          ORDER AUTHORIZING PRETRIAL
9        v.                               RELEASE FOR DEFENDANT
10   ATIR DADON,
11                 Defendant.
12

13

14       The   United   States   seeks   an   order   revoking   United   States

15   Magistrate Judge Patrick J. Walsh’s Order of September 18, 2018,

16   releasing defendant Atir Dadon based upon an unsecured bond to be

17   partially secured by property in two weeks. Mot. for Revocation

18   at 1:18-21, ECF 100.    The United States argues:

19             “Dadon is a dual Israeli and American citizen
               who has shown a willingness to abandon his
20             family and flee, has conspired with a co-
               defendant who has already fled, and has the
21             means and connections to make such flight
               possible. That is, he has the means and
22             connections to make flight comfortable for
               himself and his family, difficult to detect,
23             and impossible to prevent absent detention.
               Critically, these means include foreign bank
24             holdings in Israel that Dadon failed to
               disclose to the magistrate court that issued
25             the Release Order.   Accordingly, this Court
               should revoke the Release Order and order
26             Dadon detained pending trial as a flight
               risk.”     Id. at 1:25-28, 2:1-4(emphasis
27             added).
28       A district court conducts a de novo review of a magistrate
                                         1
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1    judge’s bail ruling.          See United States v. Koenig, 912 F.2d 1190,

2    1191   (9th     Cir.    1990).       A   district    court    “should    review     the

3    evidence      before    the   magistrate     and    make     its   own   independent

4    determination whether the magistrate's findings are correct, with

5    no   deference.        If   the   performance   of    that    function      makes   it

6    necessary or desirable for the district judge to hold additional

7    evidentiary hearings, it may do so, and its power to do so is not

8    limited    to    occasions        when   evidence    is   offered    that    was    not

9    presented to the magistrate.” Id. at 1193.

10          The district judge reviewed the audio recording of Dadon’s

11   appearance before Magistrate Judge Walsh. The                      recording makes

12   evident that the United States did not fully present all the

13   flight risk facts it includes in its revocation motion.

14                                        Flight Risk

15          The following evidence in the Government’s revocation motion

16   evinces that Defendant poses a flight risk under a preponderance

17   of the evidence standard.

18

19                 “Dadon’s initial instinct upon learning of
                   the arrest of his co-defendant Bar Shani on
20                 Monday was to flee his home.      Dadon could
                   readily act upon his desire to flee at future
21                 stages of these proceedings, because he and
                   his wife are Israeli citizens and have . . .
22                 assets both in the United States and in
                   Israel.   In addition, Dadon’s co-conspirator
23                 Orel Gohar and co-defendant Yaniv Gohar have
                   already fled to Israel, so they would be in a
24                 position to assist Dadon’s flight . . .
25

26                 First, Dadon’s behavior upon the arrest of
                   his   co-defendant,   Bar   Shani,   presents
27                 significant evidence that he is a flight
                   risk.    On September 17, 2018, FBI agents
28                 surveilled Dadon at his residence. Later that
                                         2
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1             day, FBI in San Francisco arrested Bar Shani,
              Dadon’s   longtime   business  partner,   co-
2             conspirator, and co-defendant.     Dadon then
              abandoned his wife and children and fled to
3             an unknown location in the Los Angeles area;
              he did not return home that night.       This
4             instinctual   reaction    to  realizing   the
              probability of his own imminent arrest
5             reveals a flight interest that was not
              overcome by the existence of his wife and
6             children, refuting any argument that their
              existence would prevent his flight. When the
7             prospect of detention went from abstraction
              to strong possibility, Dadon fled his home
8             and family.

9             Moreover, when reached by phone, Dadon would
              not reveal his precise location to FBI
10            agents, further illustrating why he poses a
              flight   risk.     While  his   attorney has
11            proffered that the reason he fled his home
              for the night was to avoid being arrested in
12            front of his children, such reasoning does
              not explain why he would not disclose his
13            location to the FBI when informed that an
              arrest warrant had been issued for him.
14
              That reasoning similarly does not account for
15            Dadon’s refusal to commit to turning himself
              in, nor his subsequent refusal to answer any
16            calls from the FBI agents, after he had been
              informed of the existence of the warrant, and
17            after   FBI   agents   left  Dadon   multiple
              voicemails asking him to call them back.
18            Indeed, it took the intervention of his
              attorneys to get Dadon to self-surrender
19            later that morning, an intervention that does
              not speak favorably of Dadon’s impulses when
20            faced with potential detention at future
              junctures in this case.
21
              Second, Dadon and his wife are Israeli
22            citizens, which makes their flight to Israel
              a substantially easier process than if that
23            was not the case.     While Dadon is a dual
              citizen, his wife has only resident status in
24            the United States.     Dadon has traveled to
              Israel with some frequency, including in 2016
25            and 2017.    His wife traveled to Israel as
              recently as August 2018.        Dadon himself
26            stated to Pretrial Services in Los Angeles
              that he had recently returned from a 17-day
27            trip to Israel within the past three weeks.
              Fleeing to Israel would not be a challenging
28            or unfamiliar journey for Dadon or his
                                        3
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1              family.

2        The Government further detailed other reasons for
3    its flight risk concern in its Reply to the Defendant’s
4
     Opposition:
5

6               [] Dadon has considerable asset holdings in
               the United States that provide him ample
7              resources for flight should he choose to do
               so, and mitigate any deterrent effect of
8              bonds to the contrary. He owns two different
               properties   in  Sherman   Oaks,   California,
9              estimated to be worth in excess of $800,000
               each; he owns approximately five properties
10             in Nevada, with an estimated combined value
               of $372,000; and he owns at least two
11             vehicles    and  multiple    water   vehicles.
               Moreover, the LLC in which he has a declared
12             50% ownership interest reported $1.7 million
               in gross receipts and nearly $400,000 in
13             gross income in 2017, indicating that he has
               an ongoing source of money even absent his
14             money laundering activity on behalf of Orel
               Gohar.     Exh. A ¶ 17.       These resources
15             increase the risk that Dadon flees; as the
               Gohar brothers showed by chartering a private
16             flight to Mexico without appearing on the
               manifest, financial resources make fleeing
17             without detection and government intervention
               much easier.
18
               [] Dadon’s offense conduct points toward his
19             ability to act with subterfuge, conceal
               financial transactions, and conspire with
20             others who would help him flee.     Dadon was
               indicted for conspiracy to commit money
21             laundering.   See ECF No. 94.   As a part of
               that conduct, Dadon and co-conspirator Bar
22             Shani    utilized    a   limited    liability
               corporation, ABA Cosmetics, LLC, to send
23             checks to Orel Gohar, who in turn funneled
               thousands of dollars in cash to Dadon, Shani,
24             and their employees. Exh. A ¶

25             [] Furthermore, Dadon and Orel Gohar utilized
               coded language in discussing these payments—
26             describing money as liquor bottles or other
               items—showing Dadon’s intent to conceal the
27             underlying source of the money, which was the
               specified unlawful activity in which Gohar
28             was engaged.   His offense conduct militates
                                         4
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1              in favor of concluding that he poses a flight
               risk because unlike many other offenses, his
2              involved (1) his receipt of untraceable cash,
               (2) his intent to conceal the nature, source,
3              and location of financial transactions, and
               (3) his willingness to lie to investigators
4              about those transactions when confronted.
               Dadon would be able to deploy the same
5              skillset in effectuating his flight and
               evading detection.
6
               . . .
7
               Finally, while Dadon should not be held
8              accountable for the fugitive status of his
               co-defendants, his own status as a flight
9              risk is significantly heightened given the
               fact that he has individuals in the country
10             to which he is most likely to flee who have
               proven   willing   to   engage    in   criminal
11             conspiracies with him in the past. Dadon is
               alleged to have conspired with Orel Gohar in
12             concealing    the    nature     of    financial
               transactions and receiving large amounts of
13             cash from Gohar, cash which was derived from
               the gambling business operated by Orel and
14             Yaniv Gohar. Orel Gohar and Yaniv Gohar fled
               after being released from federal custody on
15             substantially similar conditions to Dadon.
               The   Gohars   could   use    their   financial
16             resources and connections to aid and abet
               Dadon’s flight from the United States. Since
17             Dadon’s recent overnight flight, citizenship,
               bank account holdings, and travel history
18             already point toward his being a serious
               flight risk to Israel, the existence of two
19             co-defendants who have already fled to Israel
               significantly     enhances       that     risk.
20             Therefore, the evidence that Dadon is a
               flight risk far exceeds the preponderance-of-
21             the-evidence   standard    required   for   his
               detention.”
22
               Mot. for Revocation at 6-9; Gov. Repl. at 4:24-5:6.
23
       Failure to Disclose Israeli Bank Account to Pretrial Services
24
         The   Government     argues   Dadon’s    failure   to   disclose   his
25
     Israeli bank account to Pretrial Services “has probative value on
26
     the flight risk issue” indicating that because Dadon concealed
27
     his means to flee from the Court, he presents a strong flight
28
                                         5
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1    risk. Mot. at 3:10-12.

2                   Failure to Disclose Nevada Properties

3        The Government also argued Dadon’s purposeful withholding of

4    real estate in Nevada from the Pretrial Services Officer, as

5    admitted by his attorney Mr. Sherman should be considered by the

6    Court. Sherman Decl. at 6.

7              [Dadon’s] concession is accompanied by his
               attorney’s theorizing that Dadon must have
8              been relying upon counsel’s advice that such
               properties would not be necessary to post
9              bail.   See Sherman Decl. at 6.      But such
               advice does not answer the question of why
10             Dadon did not disclose those assets’ when
               interviewed about his financial holdings,
11             irrespective of whether he or his attorney
               considered them necessary for posting bond.
12
               Regardless of his current reason for the
13             nondisclosure, Dadon’s admitted failure to
               provide Pretrial Services and the magistrate
14             court with a complete picture of his asset
               holdings contribute to his status as a flight
15             risk.
16             This is particularly true where, as here,
               Dadon made a series of disclosures to
17             Pretrial Services that happened to augur in
               favor of his release.   He disclosed his Los
18             Angeles assets, his ties to the Los Angeles
               area, his brother in Orange County, and his
19             United States citizenship. See Sherman Decl.
               at 6.
20
               This was not a case of language difficulties
21             or nervousness and a resulting inability to
               sit for an interview.     Instead, Dadon was
22             quite capable of disclosing those facts that
               helped him win release and withholding those
23             facts that did not. Whether his attorney now
               attempts to shoulder some of the blame for
24             that decision does nothing to change Dadon’s
               actions—indeed, for reasons set forth below,
25             it merely confirms a pattern for Dadon of
               blaming attorneys for actions that underline
26             his status as a flight risk. Dadon remains a
               strong flight risk, and if he followed advice
27             not to disclose certain assets to Pretrial
               Services, it is hard to see why he would not
28             follow future advice to flee.
                                     6
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1                Gov. Repl. at 1:28-3:1-8.

2           Dadon admits in his declaration filed in his surrebuttal

3    that   he   did   not   truthfully   respond   to   the   Pretrial   Services

4    Officer when asked about his assets:

5                During the pretrial interview, I was asked
                 certain questions about my assets . . . I
6                told the Pretrial Officer about my properties
                 in Los Angeles. I never intended to hide any
7                of my other assets, including my bank account
                 in Israel. I did not mention the properties
8                in Las Vegas because of what Mr. Sherman told
                 me about what properties might be needed for
9                bail. I never intended to hide anything.
                 Everything I did in this case was upon the
10               advice of counsel.       At no time did I
                 intentionally withhold anything from the
11               Pretrial Officer.   I was only doing what I
                 understood the lawyers were telling me to do.
12
                 Surrebuttal 2:24-283:1, ECF 116 at 3.
13

14
            Defendant’s candor to the Pretrial Services Officer and on
15
     the affidavit is essential to the bail determination process.
16
     Some exploration of a defendant’s assets or net worth is plainly
17
     contemplated by the language of Section 3142 of the United States
18

19   Code which governs the release or detention of Defendant pending

20   trial. “Without such information we fail to see how a judicial

21   officer could arrive at a for [a bail] amount which would
22   reasonably assure [Defendant’s attendance at a proceeding].”
23
     United States v. Patriarca, 948 F.2d 789, 795 (1st Cir. 1991)
24
     (noting the forfeiture provision is a crucial release condition,
25
     its effectiveness bolstered or its inadequacy revealed by
26
     additional factfinding.)
27

28          It should be evident to Defendant that the Court does not
                                           7
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1    condone materially false statements made to probation officers,
2    and by analogy, to pretrial services offices during an
3
     investigation for the Court, and that under certain circumstances
4
     such statements could warrant a sentencing enhancement. U.S. v.
5
     Ojo 916 F.2d 388, 393 (7th Cir. 1990)(stating that "providing
6
     false information to the pretrial services officer, who was
7

8    conducting a bail investigation for the court, falls squarely

9    within the [the obstruction of justice] application note, and led

10   to a sentencing enhancement under       U.S.S.G. § 3C1.1 (n.(1)(c)”).
11   Compare U.S. v. Greig 717 F.3d 212, 220-22 (1st Cir.
12
     2013)(indicating where Defendant intentionally withheld assets
13
     from Pretrial Services could be a basis for a sentencing
14
     enhancement for obstruction of justice) with United States v.
15
     Magana–Guerrero, 80 F.3d 398, 401 (9th Cir. 1996) (noting
16

17   “[P]roviding materially false information to a pretrial services

18   officer, whose job it is to conduct investigations for the court,
19   constitutes obstruction of justice for purposes of section 3C1.1,
20
     without a specific showing that the falsehood actually obstructed
21
     justice.”)
22
         Further, a lack of candor concerning assets that could be
23
     used to flee could reasonably support an inference that
24

25   Defendant’s assertions he will not flee cannot be trusted. See

26   U.S. v. Manning 704 F.3d 584, 586 (9th Cir. 2012) (finding

27   “Defendant’s manifested dishonesty on the record, combined with
28
                                         8
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1    her access to hidden assets and her ties outside the United
2    States evince she cannot be trusted when she represents to the
3
     Court she will not flee.”), United States v. Cerizo, 542 Fed.
4
     Appx. 641, 642 (9th Cir. 2013)(stating Defendant’s “long history
5
     of dishonesty and ties outside...the United States provided an
6
     ample basis for denying his bail request.”).
7

8         Here, the Magistrate Judge was not made aware of this

9    evidence demonstrating lack of candor.

10                          The September 28 Hearing
11        At the September 28, 2018 hearing, the undersigned held in a
12
     conclusory manner that the Magistrate Judge was not in the
13
     position to make an informed release decision because of
14
     Defendant’s counsel’s decision to conceal certain of Defendant’s
15
     asset information that should have been given to the Magistrate
16

17   Judge.   Such concealment shall not be condoned.

18        For the stated reasons, the Magistrate Judge did not have
19   all the relevant information available to make an accurate
20
     release decision. Therefore, the Government’s motion is granted
21
     and the Magistrate Judge’s ruling releasing Defendant is revoked.
22
          Dated:   September 28, 2018
23

24

25

26
27

28
                                         9
